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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION



HONEYFUND.COM, INC.,
PRIMO TAMPA, LLC,
CHEVARA ORRIN, and
COLLECTIVE CONCEPTS, LLC,
                                              Case No. 4:22-cv-227

      Plaintiffs,
                                              DECLARATION OF
      v.                                      ANTONIO MCBROOM

RON DESANTIS, in his official
capacity as Governor of Florida;
ASHLEY MOODY, in her official
capacity as Attorney General of
Florida, DARRICK MCGHEE, in
his official capacity as the Chair of
the Florida Commission on Human
Relations, et al.

      Defendants.



I, Antonio McBroom, declare as follows:

1.    I am over the age of 18 and have personal knowledge of the facts in this
declaration.

2.     I am the Chief Executive Officer of Primo Partners, LLC (“Primo Partners”).
We are a Ben & Jerry’s franchisee group that owns 11 scoop shops across seven
states, largely in the southeast (including Florida) with 140 employees.

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3.     Primo Partners is the largest Ben & Jerry’s franchise operator in the country.
Earlier this year, we were named “Operator of the Year” by Ben & Jerry’s,
becoming the first Black-owned franchisee group to win the award in the
company’s 43-year history.

4.    Primo Partners operates in Florida through its subsidiary, Primo Tampa, LLC
(“Primo Tampa” or “Primo”). Our operations in Florida date back to 2017. We
changed our name to Primo Tampa in 2020 and moved our operations to the Tampa
area.

5.     Primo Tampa is based in Clearwater Beach, Florida, and operates scoop
shops in Clearwater Beach and Midtown Tampa. We have 40 employees. We are a
100% Black-owned organization. Our shops are the first Black-owned Ben &
Jerry’s franchises in Florida.

6.     My partners and I believe in improving racial and socioeconomic equity and
creating opportunities for historically marginalized people to help grow
generational wealth in our community. These beliefs extend to our business.

7.     As I view it, we are a social justice organization, and ice cream is the
platform to achieve it. While ice cream is our product, our focus is on effecting
change in our community.

8.     Our team donates one percent of our revenue back to the community. Our
scoop shops host voter registration drives and sponsor educational programs to
raise awareness of racial inequality and social injustice. In addition, our franchises
have donated scoops to numerous organizations, including those that protect voting
rights and advocate for changes to the criminal legal system.

9.    Our proudest achievement is being a successful Black-owned business with
a diverse team. Our people are our greatest asset and we support our team’s
personal and professional development including through franchise-specific and
corporate-mandated training. We are also committed to hiring and preparing
disadvantaged adults and teenagers for the workforce.

10. With respect to training, I believe that learning about diversity, equity, and
inclusion (DEI) is important in the workplace and, more broadly, is vital for
supporting other minority-led businesses. We are so invested in these principles
that this year, Primo Partners also started our own DEI consulting business to help
mentor other minority business owners and executives.


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11. Primo Partners works closely with a non-profit organization, Working to
Extend Anti-Racist Education, or We Are, to ensure that our business is focused on
anti-racist principles. Primo Partners collaborates with We Are to conduct annual
anti-racism trainings for our mid-level managers, including those from Primo. We
plan to hold the next of these anti-racism trainings in November 2022.

12. Since 2020, Primo Partners has conducted workshops on racial equity for its
employees, including those from Primo. Primo Partners plans to host similar
workshops in 2022—for interns in the summer and for full-time employees in the
winter. These workshops educate employees on how to navigate situations where
racism arises in the workplace and teach employees to confront institutional racism
at both the micro- and macro-levels.

13. Primo Partners also sponsors cultural competency trainings for its
employees, including those from Primo. These trainings focus on developing
employees’ ability to understand and interact with people from a different race,
gender, or national origin. The most recent was in April 2022, which several Primo
employees from Florida attended.

14. In addition, as Primo is a franchisee, our employees must also attend
regularly, typically monthly, scheduled corporate training sessions provided
directly by Ben & Jerry’s. The company shares Primo’s commitment to social and
racial justice and acknowledges the existence of systemic racism and implicit
biases.

15. Growing out of this shared commitment, DEI principles are often at the core
of Ben & Jerry’s trainings. Employees must engage with topics such as racial
equity, social equity, and inclusion during these trainings. Ben & Jerry’s makes
racial equity a core value of its social mission work, including by requiring all
franchisees and their employees to learn about racial equity. Employees have
participated in racial equity planning sessions meant to contribute to a “lifetime of
work” for Ben & Jerry’s and its franchisees. Ben & Jerry’s and Primo expect all
Primo employees to engage with selected readings, documentaries, and articles on
racial equity. We anticipate that the next DEI-focused corporate training will be
later this year.

16. I am deeply concerned about how Florida’s Stop WOKE Act will disrupt my
business. It will not only affect the training we provide to our employees but also
how we run our business and engage with the community.



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17. Several provisions of the law prohibit concepts that are central to our
business and are ingrained in our business philosophy. We explicitly endorse
concepts like implicit bias, white privilege, and the need for restorative justice in
communications with our employees.

18. Educating our employees about such issues helps them overcome implicit
biases and gaps in their knowledge of issues relating to systemic racism, privilege,
and injustice. It is foundational to Primo Partners and Primo that employees
develop heightened awareness of these issues so that they can act as servant leaders
and offer true hospitality to our customers. DEI training helps employees to better
understand our organizational culture—even when the conversations are difficult
and involve some sharing of vulnerability—such that we build trust with each other
and can function more effectively as a team. Moreover, such employee trainings
generally allow us to attract a diverse set of clients as well as employees.

19. The Stop WOKE Act will force us to change the content of our DEI-focused
training sessions, including both those offered by corporate headquarters and those
that Primo Partners and Primo Tampa conduct with We Are, in order to avoid
“advancing” or “promoting” the prohibited concepts. I’m worried that we won’t be
able to offer the training sessions at all to our employees for fear of legal
repercussions, or that if we do, the content will have to be so altered that the
training will be ineffective.

20. The prohibited concept that “a person’s moral character or status as either
privileged or oppressed is necessarily determined by his or her race, color, national
origin, or sex” will force Primo to alter its trainings—or disregard
corporate-mandated training requirements—to avoid espousing that societal power
dynamics are often connected to race and gender and that an institutional response
will be necessary to defeat systemic racism and sexism.

21. For example, in a DEI training for its employees, Primo would need to
change several of the terms used that embody these concepts, such as “dominant
group,” “racial bias,” “white man’s privilege,” and “white man’s guilt.” Further,
Primo Partners and Primo would have to reframe the training to shy away from
entire topics such as systemic racism, oppression, and intersectionality.

22. This would be to the detriment of Primo’s employees. If employees do not
comprehend their own privilege or understand how institutions contribute to
oppression, they cannot fully comprehend Primo’s organizational culture or
effectively lead social change. Censoring discussions of power dynamics in society


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will adversely impact Primo’s ability to develop its employees as servant leaders
and foster shared understanding within its teams. This will harm its capacity to
advance its social mission.

23. This prohibited concept will also force Primo to avoid corporate-mandated
training that advances racial equity. These trainings include a list of books, films,
and speakers to help franchisee employees embark on a “racial equity learning
journey.” The listed materials include The New Jim Crow: Mass Incarceration in
the Age of Colorblindness by Michelle Alexander and Uprooting Racism: How
White People Can Work for Racial Justice by Paul Kivel, as well as documentaries
such as 13th or Mirrors of Privilege: Making Whiteness Visible adopt the language
of “white privilege” and “white supremacy” while discussing topics like systemic
racism and oppression. As it is not possible to edit or censor these materials
without fundamentally altering their message, in order to comply with the law,
Primo will not be able to have its employees read or review these materials to learn
about racial equity, in defiance of corporate requirements.

24. Likewise, the prohibited concept that “a person by virtue of his or her race,
color, national origin, or sex is inherently racist, sexist, or oppressive, whether
consciously or unconsciously” will force Primo to change the trainings its
employees attend to avoid endorsing the idea that “unconscious bias” or “implicit
bias” exist.

25. I believe that implicit bias training helps employees to develop empathy for,
and acceptance of, individuals from identity groups different from their own.
People must be honest about their biases before they can overcome them. I worry
that the law will prevent us from using implicit bias training, which will directly
harm Primo employees’ ability to offer optimal hospitality to our diverse clientele.
It will similarly affect its employees’ effectiveness in advancing racial equity.

26. The Stop WOKE Act threatens Primo’s business model and core values. We
view people and community engagement as the heart of our company. Our
business model is designed around using business as a tool to empower
marginalized people and improve our community. We want to break down the
barriers of structural racism and pave the way for equitable opportunities for
communities of color. Our business is a vehicle to dismantle white supremacy and
we operate it as such. It is impossible to adhere to the law’s prohibitions without
fundamentally changing how we run our business.




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27. Likewise, it is unclear to me how to discuss the prohibited concepts in an
“objective manner without endorsement of the concepts” without sacrificing our
commitment to advancing racial and socioeconomic equity. If we can’t have an
honest discussion about unconscious or implicit bias, we can’t overcome it. If we
can’t be honest about white supremacy or white privilege, we can’t move toward
racial equity. If we can’t be honest about systemic racism, we can’t change the
institutions that perpetuate it.

28. Navigating the new law will moreover require us to expend considerable
time, effort, and business capital; for one, we need to engage lawyers to advise us
on compliance with the new law.

29. I have always viewed our business—our Black-owned, Black-led
business—as a way to dismantle systemic racism head on and show the world what
Black excellence is. I am concerned that the Stop WOKE Act will force us to
dramatically alter our business model, sacrifice our values, and turn away from
what has made us successful.

I certify under penalty of perjury that the foregoing is true and correct to the best of
my personal knowledge. Executed in Orange County, North Carolina this 29th day
of June 2022.


                                        ________________________________
                                        Antonio McBroom




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